Case 1:03-cr-00095-LHT   Document 48   Filed 12/09/05   Page 1 of 15
Case 1:03-cr-00095-LHT   Document 48   Filed 12/09/05   Page 2 of 15
Case 1:03-cr-00095-LHT   Document 48   Filed 12/09/05   Page 3 of 15
Case 1:03-cr-00095-LHT   Document 48   Filed 12/09/05   Page 4 of 15
Case 1:03-cr-00095-LHT   Document 48   Filed 12/09/05   Page 5 of 15
Case 1:03-cr-00095-LHT   Document 48   Filed 12/09/05   Page 6 of 15
Case 1:03-cr-00095-LHT   Document 48   Filed 12/09/05   Page 7 of 15
Case 1:03-cr-00095-LHT   Document 48   Filed 12/09/05   Page 8 of 15
Case 1:03-cr-00095-LHT   Document 48   Filed 12/09/05   Page 9 of 15
Case 1:03-cr-00095-LHT   Document 48   Filed 12/09/05   Page 10 of 15
Case 1:03-cr-00095-LHT   Document 48   Filed 12/09/05   Page 11 of 15
Case 1:03-cr-00095-LHT   Document 48   Filed 12/09/05   Page 12 of 15
Case 1:03-cr-00095-LHT   Document 48   Filed 12/09/05   Page 13 of 15
Case 1:03-cr-00095-LHT   Document 48   Filed 12/09/05   Page 14 of 15
Case 1:03-cr-00095-LHT   Document 48   Filed 12/09/05   Page 15 of 15
